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                                                              U.S. DISTRICT COURT
                                                         EASTERN DISTRICT OF ARKANSAS
                                                                                      FILED
                         IN THE UNITED STATES DISTRICT COURT                          FEB - 1 2016
                            EASTERN DISTRICT OF ARKANSAS
                                                                                     IN OPEN COURT
                                                                            JAMES '5$MAffi:--CLE~K
UNITED STATES OF AMERICA                        )
                                                                            BY:            11
                                                                                       P TY CL"ERK
                                                )        Case No. 4:16-cr-00007 JM
v.                                               )
                                                 )       18 u.s.c. § 1341
TIMOTHY GILMER                                  )

                                             INFORMATION

       THE UNITED STATES ATTORNEY CHARGES THAT:

                                               COUNT 1

                                         A. BACKGROUND

       It is material to this Information:

       1.      On or about May 27, 2003, the defendant, TIMOTHY GILMER, was hired by

American Management Corporation (AMC) as an Information Systems Manager, which gave him

authority to approve certain invoices.

       2.      In or about 2008, First Mercury Insurance Company acquired AMC, and in or about

2011, Crum and Forster acquired First Mercury Insurance Company.

                                         B. THE CHARGE

       From in or about January 2008, through on or about June 28, 2011, in the Eastern District of

Arkansas and elsewhere, the defendant,

                                         TIMOTHY GILMER

with the intent to defraud, devised and participated in a scheme to defraud and obtain money and

property by means of false and fraudulent pretenses and representations.

                                         C. THE SCHEME

       It was a part of and in furtherance of the scheme that the following occurred:

                                                     1
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       1.      Between January 2008 until on or about June 16, 2011, TIMOTHY GILMER created

and submitted fraudulent invoices, from a fictitious company he created named Revelation

Technology, Inc.

       2.      TIMOTHY GILMER approved the invoices for payment, and the invoices were

forwarded via email by AMC to First Mercury Insurance for payment.

       3.      Checks were mailed from Southfield, Michigan via the United States Postal Service

to Revelation Technology, Inc., P.O. Box 6291, Sherwood, AR 72124, a post office box controlled

by TIMOTHY GILMER, as payment for the invoices.

       4.      A total of 46 fraudulent invoices were submitted by TIMOTHY GILMER, causing

43 checks to be mailed, for a loss of $324,467.39.

       6.     TIMOTHY GILMER deposited the checks into an account controlled by him.

                                       D. THE MAILING

       On or about December I 0, 20 I 0, in the Eastern District of Arkansas, the defendant,

                                      TIMOTHY GILMER,

for the purpose of executing or attempting to execute the above-described scheme and artifice to

defraud, knowingly caused check number 5190 in the amount of $16,944.37 to be delivered by

United States Mail according to the directions thereon from Southfield, Michigan to P.O. Box

6291, Sherwood, AR 72124.

       All in violation of Title 18, United States Code, Section 134 l.




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                               CHRISTOPHER R. THYER



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